        Case 2:15-cr-00071-JAD-GWF            Document 473        Filed 06/22/17   Page 1 of 4



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 9

10
                           UNITED STATES DISTRICT COURT
11
                                DISTRICT OF NEVADA
12

13   UNITED STATES OF AMERICA,           )                2:15-cr-00071-JAD-GWF
                                         )
14               Plaintiff,              )                STIPULATION TO CONTINUE
                                         )                SENTENCING HEARING
15
                 vs.                     )
16                                       )                (Second Request)
     JOSE ROGLIO FLOREZ,                 )
17                                       )
18
                 Defendant.              )
     ____________________________________)
19
                            STIPULATION FOR EXTENSION OF TIME
20

21          IT IS HEREBY STIPULATED AND AGREED, by and between Steven W. Myhre,
22
     Acting United States Attorney, and Alexandra Michael, Assistant United States Attorney,
23
     counsel for the United States of America, and Paul Riddle, Esq., counsel for Defendant JOSE
24
     ROGLIO FLOREZ, that the Court continue Defendant’s sentencing hearing, currently
25

26   scheduled for June 26, 2017 at 10:00 a.m. [dkt. 440] for no less than fourteen (14) days, to a

27   date and time to be set by this Honorable Court.
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        Case 2:15-cr-00071-JAD-GWF             Document 473          Filed 06/22/17    Page 2 of 4



 1          This stipulation is entered for the following reasons:
 2          1.     The undersigned AUSA was recently in trial on the case of United States v.
 3                 Maria Larkin 2:12-cr-00319-JCM-GWF from June 5, 2017 through June 13,
 4                 2017.
 5          2.     The government needs additional time to prepare and submit a sentencing
 6                 memorandum for the defendant.
 7          3.     The parties believe that it is in the interest of justice to continue the sentencing
 8                 at this time.
 9          4.     The Government has conferred with defense counsel and he does not object to
10   the continuance.
11          5.     The Defendant is incarcerated, but he does not object to the continuance.
12          6.     The additional time requested herein is not sought for purposes of delay.
13          7.     This is the second request for a continuance filed herein.
14          8.     The additional time requested by this stipulation, is allowed, with the
15   Defendant’s consent under the Federal Rules of Procedure 5.1(d).
16          Dated: June 20, 2017.
17

18
            /s/                                         /s/
19
     ALEXANDRA MICHAEL                            PAUL RIDDLE, ESQ.
20   Assistant United States Attorney             Counsel for Defendant JOSE ROGLIO FLOREZ
     Counsel for the United States
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         Case 2:15-cr-00071-JAD-GWF            Document 473         Filed 06/22/17      Page 3 of 4



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 2                                  UNITED STATES DISTRICT COURT
 3                                      DISTRICT OF NEVADA
 4                                                  ***
 5

 6   UNITED STATES OF AMERICA,           )                 2:15-cr-00071-JAD-GWF
                                         )
 7               Plaintiff,              )
                                         )                 ORDER CONTINUING
 8
                 vs.                     )                 SENTENCING HEARING
 9                                       )
     JOSE ROGLIO FLOREZ,                 )
10                                       )
                 Defendant.              )
11
     ____________________________________)
12
                                         FINDINGS OF FACTS
13
            Based on the pending Stipulation of counsel, and good cause appearing therefore, the
14
     Court finds that:
15
            1.      The undersigned AUSA was recently in trial on the case of United States v.
16
                    Maria Larkin 2:12-cr-00319-JCM-GWF from June 5, 2017 through June 13,
17
                    2017.
18
            2.      The government needs additional time to prepare and submit a sentencing
19
                    memorandum for the defendant.
20
            3.      The parties believe that it is in the interest of justice to continue the sentencing
21
                    at this time.
22
            4.      The Government has conferred with defense counsel and he does not object to
23
     the continuance.
24
            5.      The Defendant is incarcerated, but he does not object to the continuance.
25
            6.      The additional time requested herein is not sought for purposes of delay.
26
            7.      This is the second request for a continuance filed herein.
27
            8.      The additional time requested by this stipulation, is allowed, with the
28
     Defendant’s consent under the Federal Rules of Procedure 5.1(d).
                                                     -3-
        Case 2:15-cr-00071-JAD-GWF           Document 473       Filed 06/22/17     Page 4 of 4



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 2          For all of the above-stated reasons, the ends of justice would best be served by a
 3   continuance of Defendant’s sentencing hearing.
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 8                                            ORDER
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            Based on the pending Stipulation of counsel, and good cause appearing therefore, IT IS
10
     HEREBY ORDERED, that Defendant’s sentencing hearing, currently scheduled for
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     06/26/2017 at 10:00 a.m. be vacated and reset for _________________,
                                                       July 24, 2017 at 9:002017
                                                                             a.m.at __________.
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13   DATED this 22nd day of June, 2017.
14
                                                ________________________________________
15
                                                UNITED STATES DISTRICT JUDGE
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